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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    JADE WILCOX, on behalf of herself
      and all others similarly situated,         NO: 2:17-CV-122-RMP
 8
                                Plaintiffs,      ORDER GRANTING
 9                                               PRELIMINARY INJUNCTION
            v.
10
      JOHN BASTISTE and JOHN DOES
11    1-300,

12                              Defendants.

13

14         BEFORE THE COURT is Plaintiff’s Motion for a Temporary Restraining

15   Order and Preliminary Injunction, ECF No. 3. On May 25, 2017, the Court heard

16   oral argument on the motion. James R. Sweetser and Thomas G. Jarrard appeared

17   on behalf of Plaintiffs, and Assistant Attorney General Shelley A. Williams

18   appeared on behalf of Defendants. The Court has considered the motion and the

19   record and is fully informed.

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 1                                    BACKGROUND

 2         Plaintiffs filed this suit pursuant to the Driver’s Privacy Protection Act

 3   (“DPPA”), 18 U.S.C. § 2721-2725, which “regulates the disclosure of personal

 4   information contained in the records of state motor vehicle departments (DMVs).”

 5   Reno v. Condon, 528 U.S. 141, 143 (2000). In relevant part, 18 U.S.C. § 2721

 6   provides:

 7         A State department of motor vehicles, and any officer, employee, or
           contractor thereof, shall not knowingly disclose or otherwise make
 8         available to any person or entity:
                 . . . personal information, as defined in 18 U.S.C. 2725(3), about
 9         any individual obtained by the department in connection with a motor
           vehicle record, except as provided in subsection (b) of this section . . .
10         .

11   The DPPA restricts those who work on behalf of the DMV and protects the

12   information obtained from DMV records, as it makes it “unlawful for any person

13   knowingly to obtain or disclose personal information, from a motor vehicle record,

14   for any use not permitted under section 2721(b) of this title.” 18 U.S.C. § 2722.

15   The statute then lists fourteen “permissible purposes” for which the protected

16   information may be disclosed. See 18 U.S.C. § 2721(b).

17         Following automobile accidents in Washington state, the Washington State

18   Patrol (“WSP”) prepares collision reports containing personal information of the

19   sort protected by the DPPA. It was represented at oral argument that the personal

20   information is obtained from DMV records and uploads into a software program

21   that the WSP troopers use to compose the collision reports. Currently, the WSP


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 1   sells those collision reports to any third party without redacting various types of

 2   personal information. Plaintiffs seek a TRO and preliminary injunction:

 3         (1) enjoining Defendants from disclosing DPPA-protected “personal
           information” of Plaintiffs and the [putative] Class to others without a
 4         permissible purpose and/or (2) ordering redaction of the name, address,
           driver license number, date of birth, sex, height, and weight of the
 5         registered owner from all traffic collision reports it discloses, unless
           and until a lawful or permissible purpose is identified.
 6
     ECF No. 3.
 7
                                         DISCUSSION
 8
           “The standard for issuing a temporary restraining order is the same as that
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     for the issuance of [a] preliminary injunction.” Dahlstrom v. Sauk-Suiattle Indian
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     Tribe of Washington, No. C16-0052JLR, 2017 WL 413201, at *2 (W.D. Wash.
11
     Jan. 31, 2017) (citing New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434
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     U.S. 1345, 1347 n.2 (1977)). A preliminary injunction is “an extraordinary and
13
     drastic remedy, one that should not be granted unless the movant, by a clear
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     showing, carries the burden of persuasion.” Lopez v. Brewer, 680 F.3d 1068, 1072
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     (9th Cir. 2012) (emphasis in original) (quoting Mazurek v. Armstrong, 520 U.S.
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     968, 972 (1997) (per curiam)). Ordinarily, to obtain a preliminary injunction, the
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     moving party must “demonstrate that (1) he is likely to succeed on the merits of
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     such a claim; (2) he is likely to suffer irreparable harm in the absence of
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     preliminary relief; (3) the balance of equities tips in his favor; and (4) that an
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     injunction is in the public interest.” Lopez, 680 F.3d at 1072 (citing Winter v.
21
     Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

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 1            In conjunction with the four-part post-Winter test, the Ninth Circuit Court of

 2   Appeals has stated that “serious questions going to the merits and a balance of

 3   hardships that tips sharply towards the plaintiff can support issuance of a

 4   preliminary injunction, so long as the plaintiff also shows that there is a likelihood

 5   of irreparable injury and that the injunction is in the public interest.” League of

 6   Wilderness Defs./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d

 7   755, 759 n.1 (9th Cir. 2014) (quoting Alliance for the Wild Rockies v. Cottrell, 632

 8   F.3d 1127, 1135 (9th Cir. 2011)).

 9            (1) Likelihood of success on the merits

10            As stated above, the DPPA unambiguously states that “[i]t shall be unlawful

11   for any person knowingly to obtain or disclose personal information, from a motor

12   vehicle record, for any use not permitted under section 2721(b) of this title.” 18

13   U.S.C. § 2722. While Defendants argue that they redact certain information from

14   some disclosures, they stated that the WSP “does not assert the DPPA to redact

15   information in law enforcement reports such as collision reports.” ECF No. 5 at 5.

16   In fact, during the course of this litigation, Defendants have changed their policy to

17   disclose more information from collision reports, as they no longer redact dates of

18   birth from collision reports that they sell.1

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         In their response brief, Defendants previously stated that WSP redacts dates of
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     birth and driver’s license numbers from collision reports “if the requestor is not an

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 1         Defendants argue that the DPPA does not apply to collision reports as the

 2   collision reports are not issued by the DMV that collects the information, but rather

 3   by the WSP that just uses the information collected by the DMV to populate the

 4   collision reports, and therefore, are not “motor vehicle record[s]” as defined in the

 5   DPPA. ECF No. 5 at 7. In other words, WSP appears to argue that the DPPA

 6   protections do not apply to the information when that information is conveyed to a

 7   third party. Defendants also argue that “the DPPA specifically excludes

 8   information on vehicular accidents from the definition of ‘personal information.’”

 9   ECF No. 5 at 7. However, this argument fails to address the contention that the

10   personal information contained on collision reports could be redacted without

11   impeding access to the details of traffic accidents.

12         Although Defendants’ proffered interpretation of the DPPA has received

13   some support in case-law, see e.g., Mattivi v. Russell, No. CIV.A. 01-WM-

14   533(BNB, 2002 WL 31949898, at *4 (D. Colo. Aug. 2, 2002), it appears to conflict

15   with the plain language of the DPPA considered in context. Taken together, the

16   DPPA’s provisions seem to protect personal information if the original source of

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19   involved party or an authorized representative of an involved party,” ECF No. 5 at

20   4, but counsel informed the Court during oral argument that WSP amended this

21   policy now to redact only driver’s license numbers.


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 1   that information is a DMV database. See Pavone v. Law Offices of Anthony

 2   Mancini, Ltd., 118 F.Supp.3d 1004, 1007 (N.D. Ill. 2015).

 3         Although the WSP is an authorized recipient of personal information that

 4   Troopers include in collision reports when they respond to accidents, Plaintiffs

 5   have provided evidence that the WSP sells that personal information on collision

 6   reports to third parties for purposes that would not be permitted under the DPPA.

 7   For example, Plaintiff, Wilcox, received an advertisement from an attorney who

 8   presumably had obtained her information from a collision report. See ECF No. 3-

 9   1. The United States Supreme Court held that such solicitation is not a permitted

10   purpose under the DPPA. See Maracich v. Spears, 133 S. Ct. 2191 (2013).

11         Defendants alternatively argue that if the DPPA is applicable here, the

12   disclosure of collision reports is among the enumerated permissible purposes under

13   the DPPA. ECF No. 5 at 11. Defendants are accurate that the DPPA allows for

14   disclosure of personal information “[f]or any other use specifically authorized

15   under the law of the State that holds the record, if such use is related to the

16   operation of a motor vehicle or public safety.” 18 U.S.C. § 2721(b)(14).

17   However, it is questionable whether Defendants will be able to prove that

18   disclosure of an individual’s name, weight, height, address, phone number, and

19   date of birth are “related to the operation of a motor vehicle or public safety” in

20   any meaningful way. In addition, Plaintiffs submitted Exhibit J showing that

21   WSP’s own “Public Records Exemption Codes List” notes specific circumstances


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 1   when personal information should not be disclosed with relevant justifications.

 2   See ECF No. 3-12.

 3         Although the Court recognizes conflicting interpretations of the DPPA that

 4   may be further developed as this litigation proceeds, the Court finds that at this

 5   point that Plaintiffs have provided sufficient evidence to support a likelihood of

 6   success on the merits of their claims for this factor to weigh in their favor.

 7         (2) Irreparable harm

 8         Failure to show that irreparable harm will result in the absence of a

 9   preliminary injunction is fatal to a request for such relief. See All. for the Wild

10   Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (“Winter tells us that

11   plaintiffs may not obtain a preliminary injunction unless they can show that

12   irreparable harm is likely to result in the absence of the injunction.”).

13         Defendants recognize the intent of the DPPA to address concerns that

14   include “a growing threat from stalkers and criminals who could acquire personal

15   information from state DMVs.” ECF No. 5 at 6 (quoting Maracich v. Spears, 133

16   S. Ct. 2191, 2198 (2013)). However, Defendants fail to recognize the irreparable

17   harm done by disclosure of the same personal information that is at issue here.

18         In the age of the internet, when information is made public quickly and

19   without borders, it is nearly impossible to contain an impermissible disclosure after

20   the fact, as information can live on in perpetuity in the ether to be shared for any

21   number of deviant purposes. Based on the evidence before the Court, the Court


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 1   finds that the WSP’s current practice of selling un-redacted collision reports could

 2   needlessly expose individuals who have been in automobile accidents in

 3   Washington to having their private information compromised. The likelihood of

 4   further irreparable harm justifies the extraordinary relief of a preliminary

 5   injunction.

 6         (3) The balance of equities

 7          The WSP argues that the harm it faces if the Court grants the relief sought

 8   by Plaintiffs is that an injunction “impairs the public’s right to access police

 9   collision reports under RCW 46.52.060 and the Public Records Act.” ECF No. 5

10   at 14. However, the WSP acknowledges that they currently have procedures in

11   place to redact information on disclosures when necessary and currently have

12   policies allowing exemptions from public disclosure. See e.g., ECF No. 3-12.

13   Therefore, the Court finds that it would be a minimal burden to place on

14   Defendants to require the redaction of personal information, as defined by the

15   DPPA, when a party requesting a collision report is not requesting the personal

16   information for a permissible purpose enumerated under 18 U.S.C. § 2721(b).

17         There appears to be no valid governmental purpose that is furthered by

18   indiscriminately providing collision reports that display private individuals’

19   personal information. Absent a preliminary injunction, the hardships imposed on

20   individuals whose information is disclosed on collision reports are far-ranging and

21   significant. Therefore, this factor weighs heavily in favor of Plaintiffs.


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 1           (4) Public Interest

 2            WSP argues that an injunction is against the public interest because it would

 3   prohibit public access to useful information about collisions. As discussed above,

 4   the Court finds this argument unpersuasive.

 5           Although there is a valid public interest in the enforcement of federal

 6   statutes like the DPPA, this issue must be developed further at a later stage. Based

 7   on the evidence and arguments presently before the Court, the Court finds that the

 8   public has a vital interest in the protection of personal information and in

 9   preventing it from being sold indiscriminately to anyone who seeks collision

10   reports for any purpose. Allowing the disclosure of personal information to

11   continue pending the outcome of this litigation would undermine the very purpose

12   of the DPPA.

13           Conclusion

14           Based on the Court’s consideration of the foregoing factors, the Court finds

15   good cause to enter a preliminary injunction pursuant to the terms contained in

16   Plaintiffs’ written motion.2

17   / / /

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19       At oral argument, Plaintiffs also sought the redaction of names and telephone

20   numbers, but the Court finds these to be unnecessary redactions at present in light

21   of all of the factors discussed above.


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 1         Accordingly, IT IS HEREBY ORDERED that:

 2         1. Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary

 3   Injunction, ECF No. 3, is GRANTED.

 4         2. Within 14 days of entry of this Order, Defendants shall put into place a

 5   system of redacting addresses, driver license numbers, dates of birth, sex, height,

 6   and weight of registered owners from all traffic collision reports that it discloses

 7   unless and until the requestor of such information certifies under penalty of

 8   perjury that the information is sought for one of the fourteen permissible purposes

 9   under 18 U.S.C. § 2721(b).

10         3. Pursuant to FED. R. CIV. P. 65(c), Plaintiff shall post a bond in the amount

11   of $500.00.

12         The District Court Clerk is directed to enter this Order and provide copies to

13   counsel.

14         DATED June 9, 2017.

15
                                                  s/ Rosanna Malouf Peterson
16                                             ROSANNA MALOUF PETERSON
                                                  United States District Judge
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